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At) 245B (Rev.    /I6) Judgment ill 1 Criminal Case
                         Sheet I



                                          UNITED STATES DiSTRIcT COURT
                                                           Middle District of Alabama

                 UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                   V.

                  JACNTO TARON ROBINSON                                             Case Number: 3:16cr83-04-LSC

                                                                                    USM Number: 16762-002

                                                                                     Laconya Murray
                                                                                    Deieidri's Ai)crne
THE DEFENDANT:
C3 pleaded guilty to Count(s)
D pleaded noto contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)            One and Two of the Indictment on August 4, 2016
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended              Count

 18 USC 2119 and 2                   Carjacking and Aiding and Abetting                                       9/4/2014                    1

 18 USC 924(c)(1)(A)(ii)             Brandishing a Firearm during a Crime of Violence and                     9/4/2014                    2

  and 2                              Aiding and Abetting

       The defendant is sentenced as provided iii pages 2 through               8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)

D Count(s)                                               D is     fl ate dismissed on the motion of the Uniled Slates.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change oftiame, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thts udrnent are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

                                                                          11/10/2016
                                                                         Dal of IlOpOSiLiofi of Judgnicril



                                                                          /s/ L. Scott Cooger
                                                                         ,Signature of Judps




                                                                          L. SCOTT COOGLER, UNITED STATES DISTRICT JUDGE
                                                                         Nrnc and Title oiJude



                                                                          11/22/2016
                                                                         Daft
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AC) 245B (Rev, I .1 () Jud gment in Criminal Case
                        Sheet 2 - linprisomneul

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 DEFENDANT: JACINTO TARON ROBINSON
 CASE NUMBER: 3:16cr83-04-LSC

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of

     180 Months. This sentence consist of 96 months as to count 1 and 84 months as to count 2, to run consecutively to the term
     imposed on count 1.



           The court makes the following recommendations to the Bureau of Prisons:

     The court recommends that the defendant be designated to a facility close as possible to Columbus, GA.
     The court recommends that the defendant be designated to a facility where intensive drug treatment is available.


           The defendant is remanded to the custody of the United States Marshal.

       LI The defendant shall surrender to the United States Marshal fix this district:

           LI at                                    LI am. LI pm. on

           El as notified by the United States Marshal.

       LI The defendant shalt surrender for service ofsentence at the institution designated by the Bureau of Prisons:

           LI before 2 p.m on

           LI as notified by the United Stales Marshal.

           LI as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                         to

 a                                                    with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                    Case 3:16-cr-00083-ECM-TFM Document 238 Filed 11/22/16 Page 3 of 8

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AO 245B (Rev. 11,16) Judgment in a Criminal Case
                       Sheet 3  Supervised Release
                                                                                                        Judgrncni—Page    3    of        8
DEFENDANT: JACNTO TARON ROBINSON
CASE NUMBER: 3:16cr83-04-LSC
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 5 Years. This term consists of 3 years on count I and 5 years as to count 2, all such terms to run concurrently.




                                                     MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime,
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             E The above drug testing condition is suspended, based on the courts determination that you
                 pose a low risk of future substance abuse. I,eckiiapphcarta)EIl
4.        You must cooperate in the collection of DNA as directed by the probation officer. (check fapplicable)
5.     C3 You must comply with the requirements of the Sex Offender Registration and Notification Act. (42 U.S.C. 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. check ilapplicabte)
6.     E You must participate n an approved piogratn lbr domestic violence. check ilapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                   Case 3:16-cr-00083-ECM-TFM Document 238 Filed 11/22/16 Page 4 of 8

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AO 2430 (Rev, I' () Judgment in a Comma! Ca s e
                      Sheet 3A - Supervised Reteasc
                                                                                               Judgrncnl -Page                of
DEFENDANT: JACINTO TARON ROBINSON
CASE NUMBER: 3:16cr83-04-LSC

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a diffcrent probation office or within a diffcrent time
     frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
S. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer,
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours,
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.useourtsgov.


Defendants Signature                                                                                      Date
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                                                   Document 238 Filed 11/22/16 Page 5 of 8
                        Sheei 3D - Supervised Release
                             Judgrnc.Psge 5 of 8
DEFENDANT: JACINTO TARON ROBINSON
CASE NUMBER: 3:16cr83-04-LSC

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall participate in a mental health program approved by the United States Probation Office and
 contribute to the cost of that program based on his ability to pay and the availability of third-party payments.

 2. The defendant shall participate in a substance abuse program supervised and approved by the Unites States Probation
 Office, which may include testing to determine whether he has reverted to the use of drugs and shalt contribute to the cost
 of any treatment based on his ability to pay and the availability of third-party payments.

 3. The defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
 court.

 4. The defendant shall provide the probation office with any requested financial information to assist in the collection of
 financial obligations ordered, and shall not incur any new lines of credit without the express permission of the probation
 office, long as there's any amounts that are outstanding.
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                      Case 3:16-cr-00083-LSC-TFM Document 238 Filed 11/22/16 Page 6 of 8
At) 24513 (Rcv i 1/1) .iudgmcni in a ('rirniial Casc
                         Shec 5 - Criminal Moiimary Penalties
                              6 01, 8
 DEFENDANT: JACINTO TARON ROBINSON
 CASE NUMBER: 3:16cr83-04-LSC
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6+


                       Assessment                     JVI'A Assessment*               Fine                    Restitution
 TOTALS              S 200.00                     $                               $                         5 1,800,00



 LI The determination of restitution is dclened until                     . An Amended Judgment in a Criminal Case (A0245C) will be entered
      alter such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must he paid
      before the United States is paid.

 Name of Payee                                                       Total Loss**            Restitution Ordered            PrioritvorPercentage
  Jeffrey Michael Allen                                                                                    $1,800.00




 TOTALS                                                          0.00         S                   1800.00


 LI Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than S2,500, unless the restitution or fine is paid in full before the
       fifteenth day alter the date ot'tbe judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may he subjeci
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       LI the interest requirement is waived for the            LI fine LI restitution.
       LI the interest requirement for the            LI fine     El restitution is modified as follows:

 * Justice for Victims of Trafficking Act of20 15, Pub, L. No. 114-22.
    Findings for the total amount of losses are required under Chapters 109A, 11 0, 11 0A, and 11 3A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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                              3:.16-cr-OQp83-LSC-TFM Document 238 Filed 11/22/16 Page 7 of 8
AU 245B (Rev. 11 . 16) C ii giien in at LiFt1lli ISC
                        Slieei 6— Schedule or Payments -

                                                                                                             Judgment     Page     7      of          8
DEFENDANT: JAC INTO TARON ROBINSON
CASE NUMBER: 3:16cr83-04-LSC


                                                      SCHEDULE OF PAYMENTS


 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     P1 Lump sum payment of$ 2,000.00                         due irmiiediately, balance due

            E not later than                                        , or
                  in accordance with LJ C,                 D,        E, or          F below; or

 B     EJ Payment to begin immediately (may be combined with                 E C,        E D, or      Ll F below); or

 C     0 Payment in equal                           (e.g., weekly, monthly, quarterly) installments of                             over a period of
                           (e g., months or years), to commence                      (eg, 30 or 60 days) al'ler the date of this judgment; or

 D     E Payment in equal                          (e.g.. weekl y, monthly, quarterl y) installments of S                         over a period of
                          (e.g., months or years), to commence                        (e g., 30 or 60 days) after release from imprisonment to a
            term of supervision: or

 E          Payment during the term of supervised release will commence within                  (e P., 30 or 60 days) after release from
            imprisonment. The court will ser the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     W1 Special instructions regarding the payment of criminal monetary penalties:

             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of
             Alabama, 1 Church Street, Montgomery, Alabama 36104, Any balance of restitution remaining at the start of
             supervision shall be paid at a rate not less than $50 per month.



 Unless the court has expressly, ordered otheivisc, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (tncludLng defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
        Jacinto Taron Robinson, 3116cr83-04-LCS, $1,800 total amount, $1,800 joint and several amount, Jeffrey Michael Allen
        - payee
        Stanley Jawan Hinton, 3:16cr83-01-MHT, $1,800 total amount, $1,800 joint and several amount, Jeffrey Michael Allen -
        payee

 L The defendant shall pay the cost ot'prosecution.

 E The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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                                                             Document 238 Filed 11/22/16 Page 8 of 8
                 Sheet 6A - Schedule of Paviiienls

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DEFENDANT: JACINTO TARON ROBINSON
CASE NUMBER: 3:16cr83-04-LSC

     ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                        Joint and Several             Corresponding Payee,
fçjudiig defendant number)                           Total Amount            Amount                       ifrpiate

Tawanda Aeiáh Sears,                                                                              Jeffrey Michael Allen
3:16cr830-L8C                                              $1,800.00               $1,800.00
